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                UNITED STATES BANKRUPTCY COURT FOR THE
                     SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                         )    IN PROCEEDINGS UNDER
                                               )    CHAPTER 7
JENNIFER SUE WHEAT,                            )
                                               )
         Debtors.                              )    Case No. 16-41034


 MOTION TO DIRECT DEBTOR TO TURNOVER PROPERTY TO TRUSTEE

         COMES NOW, Dana S. Frazier, Trustee in the above-captioned case, and for her

Motion to Direct Debtor to Turnover Property to Trustee, states as follows:

         1.     Dana S. Frazier, is the duly and acting trustee in this case.

         2.     The Debtor provided copies of her filed 2016 income tax returns. The

Trustee determined the Bankruptcy Estate was entitled to $4m705.64.

         3.     The Trustee requested the turnover of the income tax refund in the amount

of $4,705.64 by written letters to Debtor’s counsel dated April 21, 2017, May 18, 2017,

June 13, 2017, July 6, 2017 and August 10, 2017.

         4.     To date, the Debtor has not made any payment.

         WHEREFORE, the Trustee prays that this Court enter its order directing the

Debtor to turnover to the Trustee within 10 days the amount owed the Estate as to her

2016 income tax refunds in the amount of $4,705.64.

                                               Respectfully Submitted

                                               /s/ Dana S. Frazier
                                               Dana S. Frazier, 06242921
                                               Chapter 7 Trustee
Frazier Law Office LLC
P.O. Box 159
Murphysboro, IL 62966
Tel: 618-687-5707
Fax: 618-687-5710



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                            CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that I served a copy of the Motion to Direct
Debtor to Turnover Property to Trustee and all Exhibits by U.S. Mail or Electronic
Mail to:

Mark Tungate, Debtor’s attorney

Jennifer Wheat
209 East Water St.
Fairfield, IL 62837

U.S. Trustee

Dated: September 29, 2017

                                                     /s/ Dana S. Frazier
                                                     Dana S. Frazier, #06242921
                                                     Chapter 7 Trustee
                                                     P.O. Box 159
                                                     Murphysboro, IL 62966
                                                     Phone: (618) 687-5707
                                                     Fax:(618) 687-5710




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